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                IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION
                           _________________

                           Docket No. 4:19-CR-00488
                              ________________

                       UNITED STATES OF AMERICA

                                         v.

                       MARIBEL SANTANA-CERANO

            _______________________________________________

               EXPEDITED MARIBEL SANTANA CERANO’S
                MOTION FOR COMPASSIONATE RELEASE
            _______________________________________________


TO THE HONORABLE RANDY CRANE:

       Now comes Movant, MARIBEL SANTANA CERANO (sometimes herein

Ms. Cerano), Register Number 998777-479, through her counsel, and seeks this

court to grant her compassionate release, and for expedition due to the need for free

world immediate medical care, from Carswell FCI Federal Prison to time served or

home confinement pursuant to The United States Attorney General’s written

directives, 18 U.S.C. Section 3582(c)(1)(A)(i), Section 1B1.13 of the US Sentencing

Guidelines, BOP program statement 5050.50 and 28 CFR Section 571.61 and other

law.
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      Ms. Cerano voluntarily turned herself in. She was sentenced on March 9,

2022. Exhibit 1, judgment. Ms. Cerano is currently housed at FMC Carswell in Fort

Wort, Texas. During her stay undersigned counsel has sent several letters, CMRRR,

to the prison warning of her poor health condition. Ms. Cerano has a severe open

wound which has been neglected despite repeated requests and notification. See

Exhibits 5, 6, 7, and 8. She has to sleep face down and cannot sit in a chair but for

a short while due to the pain.

      Ms. Cerano has been cooperative and a witness who visited her recently

reported on her observed condition. Exhibit 2, containing medical information filed

under seal.

      Most recently undersigned counsel has sent requests to Ms. Cerano’s BOP

counselor requesting her medical records for December 1, 2022, to the present and

asking to talk to Ms. Cerano about her urgent medical and legal needs, including

further consultation for this instant filing, but has been ignored and in one instance

given a nonsensical reason for refusing to provide medical records. Exhibit 3.

      Ms. Cerano was in a “quarantine” for at least 18 days with three other

prisoners when that is improper process for quarantine. While she was seen May 19

and 20th of 2022 proper care was not administered and she had to clean her wounds

herself with menstrual pads in front of other prisoners.




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        June 3rd, 2022, Ms. Cerano was sent to a hospital unit but they did not follow

instructions and put her in the regular unit in floor two of the jail. Ms. Cerano still

had the open wound and severe infection with leakage and no elevator pass to go to

medical. Despite the Hon. Lynn N. Hughes stating Ms. Cerano would receive proper

medical which would have been a hospital that did not occur and, furthermore, there

was no quarantine.

      After Ms. Cerano’s surgery she has constantly had infections for over a year and

has been taking antibiotics. About two months prior to filing this motion staff told Ms.

Cerano that there was nothing they could do until Ms. Cerano has another surgery and

informed her the surgery may cause severe nerve damage and greatly affect her

mobility. Instead of keeping her in the hospital staff sent her back to a regular cell area

and Ms. Cerano is still relegated to using feminine hygiene products to clean herself

in front of prisoners with an open wound, leakage, and severe infection. Several

medical care providers apparently do not possess the proper credentials and licensing

to be treating Ms. Cerano for her condition. Ms. Cerano needs a specialist that Carswell

or the BOP cannot or will not provide.

      Ms. Cerano has repeatedly gone to sick call to ask for help and staff ignores her

wound or check her status and just gives her common antibiotics without checking her

condition. She is repeatedly not taken to appointments despite her needing and

cooperating in care. Any statement that Ms. Cerano has refused care is not correct.

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         Three inmates have died recently at Carswell due to bad medical care and

negligence, likely amounting to deliberate indifference. It does not appear Carswell

has the staff to adequately take care of the inmates including Ms. Cerano. She needs a

surgery to separate her nerves and without competent proper medical staff there is a

real danger of being paralyzed or even death.

         Additionally, Ms. Cerano attaches her recent statement. Exhibit 4.

         Ms. Cerano has sent many warnings and communications. See Exhibits 5, 6,

7, and 8, letters of October 16, 2022, November 18, 2022, February 2, 2023, and

May 18, 2023, but as of yet she is in grave danger of further injury and death.

         Due to her condition and treatment a claim has been made to the BOP.

Exhibits 9 and 10, November 23, 2023, letter to BOP and acknowledgement.

         Regarding her BOP medical care a registered nurse has reviewed her medical

records and notes that (medical records proving these facts and more can be obtained

through the BOP or can be provided by movant upon request):


   •     5/19/2022 Ms. Cerano was seen by the FNP-C who ordered wound care 3x's a
         week for 90 days to the right gluteal area. This was an initial assessment on
         transfer to the facility.
   •     5/20/2022 Physical therapy documented wound care services were not
         indicated due to the inability of the gluteal wound to heal without surgical
         closure and there was a visible implant in the right gluteal area. The patient
         was discharged from physical therapy wound care.
   •     6/3/2022 Ms. Cerano is taken to the ER for her wound and discharged.
   •     6/14/2022 Surgery is scheduled for wound closure and implant removal on
         6/21/2022. The wound is worsening. The patient was brought to the ER for a
         wound check. The physician documents "They do not recommend additional
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         admission at this time. They are scheduling her for outpatient surgery
         sometime next week."
   •     6/19/2022 It is noted by the RN the patient is not on the med trip list for
         6/21/2022 (Ms. Cerano's scheduled surgery date).
   •     6/21/2022 Patient missed scheduled surgery because it wasn't communicated
         to Carswell's staff. Noted an attempt to reschedule ASAP, but never a
         documented reschedule date.
   •     6/27/2022 Patient taken back to ER where Dr. Sweeney documents, " patient
         has right buttock implant that was placed 3 years ago. It has healed but she
         got a wound on her bottom one month ago and it started to get larger. She has
         been here twice this month for pain associated with this. Prison did not take
         her to her surgery follow-up appointment. CT scans both times she was here
         this month. I do not feel comfortable discharging this patient and she will be
         admitted.”
   •     6/29/2022 Patient has surgery on right buttock with implant removed and
         Wound VAC placed.
   •     7/01/2022 Patient discharged with the need for Wound VAC at the prison. The
         prison states the equipment is there and the patient is transported with just a
         dressing and an order for the Wound VAC to be placed within 2 hours (this is
         a negative pressure dressing) of arrival. On arrival, the prison does not have
         the equipment, and the patient is sent back to the hospital.
   •     12-29/2022 The wound is still not healing. Jason Miller DO documents “There
         are still signs of infection in the wound, despite being on antibiotics. The
         wound is deeper and tunneling slightly.” “She has been on 5 different
         antibiotics without full resolution of the infection and wound.”

…It appears that Ms. Cerano waited approximately 41 days while incarcerated with
an open wound with an implant showing before she was allowed surgery to correct
it. She was given antibiotics and a dressing in the interim. The facility was aware
that she needed a surgical consult from the wound care expert's (physical therapy)
documented initial evaluation. Ms. Cerana was forced to miss her June 21, 2022,
surgery because of miscommunication within the facility. She finally received
surgery on 6/29/2022, after the ER physician was uncomfortable discharging her
because the wound had become so severe. This type of delay in care would likely not
occur with an ordinary patient. An open wound with a visible implant and infection
is considered urgent if not emergent. The patient was still suffering from an unhealed
wound 6 months after her surgery and now suffers from nerve pain. She has been
given many antibiotics as well.


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      Note that the registered nurse wanted Ms. Cerano’s most recent medical

records, however, BOP will not provide them. Exhibit 3. That Ms. Cerano’s most

recent medical records have been requested yet there has been a refusal to provide

them is indicative of more malpractice or deliberate indifference.

      It is believed that several BOP healthcare providers may not have the proper

licensing and certifications for the services they are performing including nurse

Tammy Nodland, Robinson Brown MD, in OBGYN, and Doctor Miller MD in

orthopedics and potentially others.

      Compassionate release is warranted due to her severe wounds and extreme

lack of care by the BOP and requirement of continued care, as well as Covid-19

dangers. Due to her condition Maribel Santana-Cerano falls in the “high risk”

category for experiencing serious or life threatening complications if she contracts

COVID-19. Therefore, in accordance with the Attorney General’s instructive

memoranda, Maribel should be granted compassionate release immediately.

      Note that recent amendments have passed under 18 U.S.C. Section

3582(c)(1)(A)(C) which include that risk of serious deterioration in health or death,

that is not being provided in a timely or adequate manner by the Bureau of Prisons:

         (C)   The defendant is suffering from a medical condition that requires
               longterm or specialized medical care, without which the defendant is
               at risk of serious deterioration in health or death, that is not being
               provided in a timely or adequate manner.

         (D)   The defendant presents the following circumstances—
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              (i)     The defendant is housed at a correctional facility affected or at
                      risk of being affected by (I) and ongoing outbreak of infectious
                      disease, or (II) an ongoing public health emergency declared by
                      the appropriate federal, state, or local authority;
              (ii)    The defendant is at increased risk of suffering severe medical
                      complications or death as a result of exposure to the ongoing
                      outbreak of infectious disease or the ongoing public health
                      emergency described is clause (i); and
              (iii)   Such risk cannot be mitigated on a timely or adequate manner.

II. Concerns among Government officials increased rapidly as the

          COVID-19 threat became a pandemic

          As COVID-19 began claiming the lives of many Americans, and the

          physicians predicted the exponential growth of those numbers, government

          officials became increasingly concerned for inmates due to the close

          proximity within the units, the inability to self-isolate and inability to

          protect those who have underlying health conditions that put them at high

          risk for experiencing severe complications from contracting the virus,

          including death.

      On March 23, 2020, a bi-partisan letter to the Justice Department from 14

members of the United States Senate, expressed “serious concern for the health and

well-being [sic] of federal prison staff and inmates in Federal custody, especially

those who are most vulnerable to infection…” and they strongly urged the DOJ to

take all necessary steps to protect them.



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        Soon thereafter, the Attorney General of the United States released his original

memo to the Bureau of Prisons on March 26, 2020, instructing the BOP to prioritize

home confinement as an appropriate response to the COVID-19 pandemic. See

Memorandum from the Attorney General to the Director of Prisons dated March 26,

2020.

        Closely following the AG memo, on April 1, 2020, the Federal Public &

Community Defenders wrote an urgent letter to Attorney General Barr arguing:

        There is no constitutional or statutory authority for DOJ to play roulette
        with people’s lives because of their offense of conviction.
        Imprisonment is meant to punish by restricting liberty, not by exposure
        to illness.

--Letter to Attorney General William Barr from Federal Public & Community

Defenders.

        Since then, AG Barr released a more strongly written directive calling for

hasten release of vulnerable inmates from federal prisons. In an April 3, 2020,

memorandum to the Director of the Bureau of Prisons, declaring emergency

conditions exist in the Bureau of Prisons, Attorney

General Barr said:

        We have to move with dispatch in using home confinement, where
        appropriate, to move vulnerable inmates out of these institutions.
        …[Y]ou should include [the review for release of] all at-risk inmates—
        not only those who were previously eligible for transfer. For all
        inmates whom you deem suitable candidates for home confinement,
        you are directed to immediately process them for transfer and then

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      immediately transfer them following a 14-day quarantine at an
      appropriate BOP facility, or, in appropriate cases subject to your case-
      by-case discretion, in the residence to which the inmate is being
      transferred. …I also recognize that BOP has limited resources to
      monitor inmates on home confinement and that the U.S. Probation
      Office is unable to monitor large numbers of inmates in the community.
      I therefore authorize BOP to transfer inmates to home confinement
      even if electronic monitoring is not available, so long as BOP
      determines in every such instance that doing so is appropriate and
      consistent with our obligation to protect public safety. Given the speed
      with which this disease has spread through the general public, it is clear
      that time is of the essences. Please implement this Memorandum as
      quickly as possible and keep me closely apprised of your progress.

See April 3, 2020, Memorandum.

   II. When considering the totality of the circumstances, Maribel meets the
        discretionary factors set by Attorney General Barr in the March 26, 2020,
        Memo

      The Attorney General gave a non-exhaustive list of discretionary factors to

consider when evaluating the totality of the circumstances for each inmate requesting

release to home confinement. The factors are:

      1.     The age and vulnerability of the inmate to COVID-19, in
             accordance with the Centers for Disease Control and
             Prevention (CDC) guidelines;

      2.     The security level of the facility currently holding the inmate,
             with priority given to inmates residing in low and minimum
             security facilities;

      3.     The inmate’s conduct in prison, with inmates who have engaged
             in violent or gang related activity in prison or have incurred a
             BOP violation within the last year not receiving priority
             treatment;
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      4.     The inmate’s score under PATTERN, with inmates who have
             anything above a minimum score not receiving priority
             treatment;

      5.     Whether the inmate has demonstrated a verifiable reentry plan
             that will prevent recidivism and maximize public safety,
             including verification that the conditions under which the inmate
             would be confined upon release would present a lower risk of
             contracting COVID-19 than the inmate would fact in his or her
             BOP facility; and

      6.     The inmate’s crime of conviction, and assessment of the danger
             posed by the inmate to the community. Some offenses, such as
             sex offenses, will render an inmate ineligible for home detention.
             Other serious offenses should weigh more heavily against
             consideration for home detention.

See Memorandum from the Attorney General to the Director of Prisons dated March

26, 2020.

      The Attorney General also instructed that an assessment of the inmate’s risk

factors for severe COVID-19 must be considered along with risks of COVID-19 at

the inmate’s prison facility, as well as the risks of COVID-19 at the location in which

the inmate seeks home confinement. See id.

      A. Ms. Cerano’s medical history places her in the most vulnerable group in
          accordance with CDC guidelines

       According to the CDC, people with infections may be at a higher risk of

getting very sick from COVID-19. Ms. Cerano’s medical history of infection and



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wounds places her in the most vulnerable group for susceptibility to serious

complications from COVID-19.

        If she is not released from the facility the virus and her underlying medical

issues, put her at risk of contracting the disease and suffering serious health

complications. Contracting the coronavirus in prison might be a death sentence for

Ms. Cerano. As the Federal Public Defenders urgently pleaded, “[t]here is no

constitutional or statutory authority for DOJ to play roulette with people’s lives

because of their offense of conviction. Imprisonment is meant to punish by

restricting liberty, not by exposure to illness.” See Letter to Attorney General

William Barr from Federal Public & Community Defenders.

        Ms. Cerano’s unit had many positive cases of COVID-19. This places extreme

urgency to protect Ms. Cerano from potential harm.



   B.      FCI Carswell meets the facility requirements of Attorney
             General Barr’s Memo

        The second factor to consider is the security level of the facility currently

holding the inmate, with priority given to inmates residing in low and minimum

security facilities. FCI Carswell is a low to medium security federal correctional

institution. Further, many cases of COVID-19 has been diagnosed for personal at

FCI Carswell, which increases the risk of inmates contracting the virus.


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   C.      Ms. Cerano has had exemplary conduct while in prison, has a low
           PATTERN score, and can adopt a re-entry plan which will reduce the
           possibility of recidivism.

   D.       Ms. Cerano, if released, would stay with her daughter Amy Cerano at
           16222 Clay Road, apt. 613, Houston, Texas 77084, 346-714-8836, and she
           would pay for her lodging. Because of her condition she could not work
           until she had her surgery and her wounds healed. She could get coverage
           under the Affordable Care Act as they cover preexisting conditions and her
           income would be low enough to get the coverage for no charge. The BOP
           could also arrange for coverage in the free world. Ms. Cerano could get
           treatment at Methodist Hospital or Memorial Hermann.

                                    CONCLUSION

        Compassionate release is appropriate for Maribel Santana Cerano. She is a

nonviolent offender suffering from a severe untreated wound infection which has

been and is being neglected. Further, the medical history places her at a very high

risk of having complications from COVID-19. If she is not released from the facility,

the virus and her past and present medical issues put her at a high risk of death or

severe injury including paralysis. The past failures of the BOP have caused her

immense suffering and pain and potential life-long disfigurement, paralysis, and

death. Covid-19 is still active and contracting COVID-19 in prison could be a death

sentence for Ms. Cerano.

        Maribel Santana Cerano, in the interest of justice and fairness and compassion,

should be released.




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                                Respectfully submitted,

                                /s/ Randall L. Kallinen
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                                ATTORNEYS FOR PLAINTIFFS

                             CERTIFICATE OF SERVICE
      I certify that on September 6, 2023, I have served a true and correct copy of the
foregoing document that was delivered by the ECF in accordance with the Federal
Rules of Criminal Procedure to all ECF notice attorneys of record and on September
5, 2023, I sent a draft of this motion to the Warden of the BOP Carswell Unit.

                                                          /s/ Randall L. Kallinen
                                                          Randall L. Kallinen




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                         CERTIFICATE OF CONFERENCE
      I certify that I have conferred in good faith by emailing the Warden of the
Carswell Unit the contents of this motion September 5, 2023, and by emails and
telephone calls to DOJ attorney Steven Schammel.

                                                      /s/ Randall L. Kallinen
                                                      Randall L. Kallinen




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